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their own creation, supra note 1, and is not supported by any evidence, Chevron Corp. v.
Donziger, 37 F. Supp. 3d 650, 651 (S.D.N.Y. 2014). In addition, Plaintiffs’ arguments
concerning the certification of the June 6, 2022 shareholder vote are the same arguments that the
Court already rejected in the Order. The Court shall permit the motion, but not on an emergency
basis. Accordingly, Plaintiffs shall file their brief by February 6, 2023, Defendants shall file
their opposition by February 13, 2023, and Plaintiffs shall file their reply, if any, by February
21, 2023. Should the parties agree to a different briefing schedule, they shall file a joint letter
setting forth their proposed dates.

       SO ORDERED.

Dated: February 1, 2023
       New York, New York




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